                                       United States Bankruptcy Court
                                            District of Arizona
In re:                                                                                  Case No. 17-10375-PS
JEFFREY MARTIN STEVENS                                                                  Chapter 7
JILL ANNETTE STEVENS
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0970-2           User: dominquez              Page 1 of 2                   Date Rcvd: May 16, 2018
                               Form ID: 309A                Total Noticed: 45


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 18, 2018.
db/jdb         +JEFFREY MARTIN STEVENS,    JILL ANNETTE STEVENS,    20906 N 39TH WAY,   PHOENIX, AZ 85050-4846
aty            +JANESSA ERIN KOENIG,    JABURG & WILK,    3200 N. CENTRAL AVE., SUITE 2000,
                 PHOENIX, AZ 85012-2463
aty            +JASON S. TREGUBOFF,    FAITH, LEDYARD & FAITH, PLC,    919 NORTH DYSART ROAD,   SUITE F,
                 AVONDALE, AZ 85323-1711
tr             +EDWARD J. MANEY,    101 N. FIRST AVE., SUITE 1775,    PHOENIX, AZ 85003-1927
cr             +WELLS FARGO BANK NA,    c/o Janessa E. Koenig,    JABURG & WILK PC,   3200 North Central Avenue,
                 Suite 2000,   Phoenix, AZ 85012-2463
14695362       +BUREAU OF MEDICAL ECONOMICS,    326 E CORONADO RD,    PHOENIX AZ 85004-1524
14695361       +BUREAU OF MEDICAL ECONOMICS,    ATTN: BANKRUPTCY,    PO BOX #20247,   PHOENIX AZ 85036-0247
14796212       +Bank of America, N.A.,    P O Box 982284,    El Paso, TX 79998-2284
14695369       +CARMAX AUTO FINANCE,    12800 TUCKAHOE CREEK PKW,    RICHMOND VA 23238-1124
14695368       +CARMAX AUTO FINANCE,    PO BOX 440609,    KENNESAW GA 30160-9511
14698684       +CarMax Business Services, LLC,    225 Chastain Meadows Court,    Suite 210,
                 Kennesaw, GA 30144-5942
14695375       +MAYO CLINIC,   13400 E. SHEA BLVD.,    SCOTTSDALE AZ 85259-5499

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: anemeth@larlg.com May 17 2018 00:13:32        ANDREW S. NEMETH,
                 LERNER & ROWE LAW GROUP,    2701 E. CAMELBACK RD., STE. 185,     PHOENIX, AZ 85016
tr             +EDI: QDABIRDSELL.COM May 17 2018 03:58:00       DAVID A. BIRDSELL,     216 N. CENTER,
                 MESA, AZ 85201-6629
smg             EDI: AZDEPREV.COM May 17 2018 03:58:00       AZ DEPARTMENT OF REVENUE,     BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,    PHOENIX, AZ 85007-2650
cr             +EDI: AISACG.COM May 17 2018 03:58:00       Capital One Auto Finance, a division of Capital On,
                 c/o Ascension Capital Group,    P.O. BOX 165028,     IRVING, TX 75016,
                 UNITED STATES 75016-5028
14831421        EDI: BECKLEE.COM May 17 2018 03:58:00       AMERICAN EXPRESS CENTURION BANK,
                 C/O BECKET AND LEE LLP,    PO BOX 3001,    MALVERN PA 19355-0701
14695356       +EDI: AMEREXPR.COM May 17 2018 03:58:00       AMEX,    CORRESPONDENCE,    PO BOX 981540,
                 EL PASO TX 79998-1540
14695357       +EDI: AMEREXPR.COM May 17 2018 03:58:00       AMEX,    PO BOX 297871,
                 FORT LAUDERDALE FL 33329-7871
14695358       +EDI: AZDEPREV.COM May 17 2018 03:58:00       ARIZONA DEPARTMENT OF REVENUE,
                 SPECIAL OPERATIONS SECTION,    1600 W. MONROE, ROOM 720,     PHOENIX AZ 85007-2612
14695360        EDI: BANKAMER.COM May 17 2018 03:58:00       BANK OF AMERICA,    PO BOX 982238,    EL PASO TX 79998
14695359       +EDI: BANKAMER.COM May 17 2018 03:58:00       BANK OF AMERICA,    NC4-105-03-14,    PO BOX 26012,
                 GREENSBORO NC 27420-6012
14717478        EDI: CALTAX.COM May 17 2018 03:58:00       BANKRUPTCY SECTION MS A340,     FRANCHISE TAX BOARD,
                 PO BOX 2952,   SACRAMENTO CA 95812-2952
14695363        EDI: CALTAX.COM May 17 2018 03:58:00       CALIFORNIA FRANCHISE TAX BOARD,
                 BANKRUPTCY SECTION MS A340,    PO BOX 2952,    SACRAMENTO CA 95812-2952
14695365        EDI: CAPITALONE.COM May 17 2018 03:58:00       CAPITAL ONE,    15000 CAPITAL ONE DR,
                 RICHMOND VA 23238
14695364       +EDI: CAPITALONE.COM May 17 2018 03:58:00       CAPITAL ONE,    ATTN: BANKRUPTCY,    PO BOX 30253,
                 SALT LAKE CITY UT 84130-0253
14695366       +EDI: CAPONEAUTO.COM May 17 2018 03:58:00       CAPITAL ONE AUTO FINANCE,
                 ATTN: GENERAL CORRESPONDENCE/BANKRUPTCY,     PO BOX 30285,    SALT LAKE CITY UT 84130-0285
14695367       +EDI: CAPONEAUTO.COM May 17 2018 03:58:00       CAPITAL ONE AUTO FINANCE,     3901 DALLAS PKWY,
                 PLANO TX 75093-7864
14695370       +EDI: CHASE.COM May 17 2018 03:58:00       CHASE CARD,    ATTN: CORRESPONDENCE DEPT,     PO BOX 15298,
                 WILMINGTON DE 19850-5298
14695371       +EDI: CHASE.COM May 17 2018 03:58:00       CHASE CARD,    PO BOX 15298,    WILMINGTON DE 19850-5298
14847062       +EDI: AISACG.COM May 17 2018 03:58:00       Capital One Auto Finance c/o AIS Portfolio Service,
                 4515 N Santa Fe Ave. Dept. APS,    Oklahoma City, OK 73118-7901
14708909       +EDI: AISACG.COM May 17 2018 03:58:00       Capital One Auto Finance, c/o Ascension Capital Gr,
                 P.O. Box 201347,    Arlington, TX 76006-1347
14695372       +E-mail/Text: electronicbkydocs@nelnet.net May 17 2018 00:14:25         DEPT OF ED/582/NELNET,
                 ATTN: CLAIMS/BANKRUPTCY,    PO BOX 82505,    LINCOLN NE 68501-2505
14695373       +E-mail/Text: electronicbkydocs@nelnet.net May 17 2018 00:14:25         DEPT OF ED/582/NELNET,
                 121 S 13TH ST,    LINCOLN NE 68508-1904
14695374        EDI: IRS.COM May 17 2018 03:58:00       INTERNAL REVENUE SERVICE,
                 CENTRALIZED INSOLVENCY OPERATIONS,     PO BOX 7346,    PHILADELPHIA PA 19101-7346
14707892       +E-mail/Text: electronicbkydocs@nelnet.net May 17 2018 00:14:25
                 U.S. Department of Education C/O Nelnet,     121 S 13TH ST, SUITE 201,     LINCOLN, NE 68508-1911
14695376       +E-mail/Text: bk.notices@vantagewest.org May 17 2018 00:14:11         VANTAGE WEST CREDIT,
                 ATTN: BANKRUPTCY,    PO BOX 15115,    TUCSON AZ 85708-0115
14695377       +E-mail/Text: bk.notices@vantagewest.org May 17 2018 00:14:11         VANTAGE WEST CREDIT UNION,
                 PO BOX 15115,    TUCSON AZ 85708-0115
14695378       +EDI: WFFC.COM May 17 2018 03:58:00       WELLS FARGO,    WELLS FARGO BANK,    PO BOX 5185,
                 SIOUX FALLS SD 57117-5185
14695379       +EDI: WFFC.COM May 17 2018 03:58:00       WELLS FARGO,    PO BOX 5185,    SIOUX FALLS SD 57117-5185

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District/off: 0970-2                  User: dominquez                    Page 2 of 2                          Date Rcvd: May 16, 2018
                                      Form ID: 309A                      Total Noticed: 45


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
14695380       +EDI: WFFC.COM May 17 2018 03:58:00     WELLS FARGO DEALER SERVICES,   ATTN: BANKRUPTCY,
                 PO BOX 19657,   IRVINE CA 92623-9657
14695381       +EDI: WFFC.COM May 17 2018 03:58:00     WELLS FARGO DEALER SERVICES,   PO BOX 1697,
                 WINTERVILLE NC 28590-1697
14749335        EDI: WFFC.COM May 17 2018 03:58:00     Wells Fargo Bank N.A., d/b/a Wells Fargo Dealer Se,
                 PO Box 19657,   Irvine CA 92623-9657
14722102        EDI: WFFC.COM May 17 2018 03:58:00     Wells Fargo Bank, N.A.,
                 Wells Fargo Education Financial Services,   PO Box 10438, MAC F8235-02F,
                 Des Moines, IA 50306-0438
14747330        EDI: WFFC.COM May 17 2018 03:58:00     Wells Fargo Bank, N.A., d/b/a Wells Fargo Dealer S,
                 PO Box 19657,   Irvine, CA 92623-9657
                                                                                            TOTAL: 33

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +Capital One Auto Finance c/o AIS Portfolio Service,   4515 N Santa Fe Ave. Dept. APS,
                   Oklahoma City, OK 73118-7901
                                                                                              TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 18, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 16, 2018 at the address(es) listed below:
              ANDREW S. NEMETH    on behalf of Debtor JEFFREY MARTIN STEVENS anemeth@larlg.com,
               rbeucler@larlg.com,awestbrooks@larlg.com,kjennings@larlg.com
              ANDREW S. NEMETH    on behalf of Joint Debtor JILL ANNETTE STEVENS anemeth@larlg.com,
               rbeucler@larlg.com,awestbrooks@larlg.com,kjennings@larlg.com
              DAVID A. BIRDSELL    ecf@azbktrustee.com, dbirdsell@ecf.epiqsystems.com
              EDWARD J. MANEY    courtecf@maney13trustee.com
              JANESSA ERIN KOENIG    on behalf of Creditor   WELLS FARGO BANK NA jek@jaburgwilk.com
              U.S. TRUSTEE    USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                             TOTAL: 6




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Information to identify the case:
Debtor 1              JEFFREY MARTIN STEVENS                                            Social Security number or ITIN        xxx−xx−4996
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2              JILL ANNETTE STEVENS                                              Social Security number or ITIN        xxx−xx−6596
(Spouse, if filing)
                      First Name   Middle Name    Last Name                             EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Arizona                           Date case filed in chapter 13               8/31/17

Case number:          2:17−bk−10375−PS                                                  Date case converted to chapter 7           5/16/18


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/17

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors or if you do not provide photo identification and proof of social security number to
the trustee at the meeting.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       JEFFREY MARTIN STEVENS                              JILL ANNETTE STEVENS

2.      All other names used in the aka JEFF STEVENS
        last 8 years

3.     Address                               20906 N 39TH WAY                                        20906 N 39TH WAY
                                             PHOENIX, AZ 85050                                       PHOENIX, AZ 85050

4.     Debtor's attorney                     ANDREW S. NEMETH                                       Contact phone 602−667−7777
                                             LERNER & ROWE LAW GROUP                                Email: anemeth@larlg.com
       Name and address                      2701 E. CAMELBACK RD., STE. 185
                                             PHOENIX, AZ 85016

5.     Bankruptcy trustee                    DAVID A. BIRDSELL                                      Contact phone 480−644−1080
                                             216 N. CENTER                                          Email: ecf@azbktrustee.com
       Name and address                      MESA, AZ 85201
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor JEFFREY MARTIN STEVENS and JILL ANNETTE STEVENS                                                              Case number 2:17−bk−10375−PS


6. Bankruptcy clerk's office                    U.S. Bankruptcy Court, Arizona                                    Office Hours: 9:00 am − 4:00 pm
                                                230 North First Avenue, Suite 101                                 Monday−Friday
    Documents in this case may be filed at this Phoenix, AZ 85003−1727
    address. You may inspect all records filed
    in this case at this office or online at                                                                      Contact Phone: (602) 682−4000
    www.pacer.gov.                                                                                                Date: 5/16/18

7. Meeting of creditors                          June 18, 2018 at 11:30 AM                                        Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a                   US Trustee Meeting Room, 230
    questioned under oath. In a joint case,      later date. If so, the date will be on the court                 N. First Avenue, Suite 102,
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                          Phoenix, AZ


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                     Filing deadline: 8/17/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    Please do not file a proof of claim unless   that you may file a proof of claim and stating the deadline.
    you receive a notice to do so.               Deadline for holder(s) of a claim secured by a security interest in the debtor's principal residence (Rule
                                                 3002(c)(7)(A): 70 Days from Case Filed Date.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2




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